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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



THE DAILY WIRE, LLC et al.,

                Plaintiffs,

        v.                                                 Civil Action No. 6:23-cv-00609 (JDK)

UNITED STATES DEPARTMENT
OF STATE et al.,

                Defendants.

DEFENDANTS’ UNOPPOSED MOTION TO TEMPORARILY SUSPEND DEADLINE
                  TO ANSWER THE COMPLAINT

        Defendants respectfully request that the Court suspend the deadline to answer the complaint,

which is currently May 21, 2024, in light of the parties’ forthcoming Rule 26(f) conference and Rule

16(b) submission proposing a schedule for future proceedings in this case. Defendants have conferred

with Plaintiffs, who consent to this request.

        Good cause exists to suspend the answer deadline at this juncture. On May 7, 2024, the Court

granted in part and denied in part Defendants’ motion to dismiss, ECF No. 53, making Defendants’

deadline to file a responsive pleading with respect to Plaintiffs’ remaining claims May 21. Fed. R. Civ.

P. 12(a)(4)(A). The Court also entered an order authorizing expedited discovery, which is now

ongoing. ECF No. 54. Finally, the Court ordered the parties to meet and confer under Federal Rule

of Civil Procedure 26(f) by May 24, and to submit a proposed schedule for the disposition of this case

under Federal Rule of Civil Procedure 16(b) by May 31. ECF No. 55.

        Defendants submit that preparing and filing an answer by May 21, in light of the parties’

forthcoming Rule 26(f) conference and Rule 16(b) scheduling submission to the Court, as well as the

parties’ ongoing obligations regarding expedited discovery, would be an inefficient use of resources.


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As directed by the Court, the parties plan to discuss a schedule for this case, including any deadline to

answer the complaint, at the Rule 26(f) conference next week.

        Defendants therefore respectfully request that the Court suspend the deadline to answer the

complaint pending the entry of a scheduling order in this case.

 Dated: May 16, 2024                                   Respectfully submitted,

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                                                       Principal Deputy Assistant Attorney General

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                                                       /s/Arjun Mody
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                              CERTIFICATE OF CONFERENCE

       I, Arjun Mody, certify that on May 15, 2024, counsel for Plaintiffs communicated with counsel

for Defendants that Plaintiffs consent to the relief sought in this motion.

                                                       /s/ Arjun Mody
                                                       ARJUN MODY




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                                   CERTIFICATE OF SERVICE

        On May 16, 2024, I electronically submitted this document to the clerk of court of the U.S.

District Court for the Eastern District of Texas using the court’s electronic case filing system. I certify

that I have served all parties electronically or by another manner authorized by Federal Rule of Civil

Procedure 5(b)(2).


                                                         /s/ Arjun Mody
                                                         ARJUN MODY




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